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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,                          *
                                                   *
                      Plaintiff,                   *
                                                   *   CRIMINAL NO. LKG-25-6
       v.                                          *
                                                   *
THOMAS C. GOLDSTEIN,                               *
                                                   *
                      Defendant.                   *

                                               ********


        ORDER GRANTING DEFENDANT’S CONSENT MOTION TO MODIFY
               CONDITIONS OF RELEASE TO PERMIT TRAVEL

       Upon due consideration of Defendant Thomas C. Goldstein’s Consent Motion to Modify

Conditions of Release to Permit Travel, it is hereby ORDERED that Mr. Goldstein’s Consent

Motion is GRANTED and Mr. Goldstein is permitted access to his passport for the purpose of

travelling to the United Kingdom. The conditions of travel are:

   1. Mr. Goldstein will travel to Oxford, England for the purpose of attending his child’s high

       school graduation from May 26, 2025 to May 29, 2025.

   2. Mr. Goldstein will provide Pretrial Services with a detailed itinerary that includes flight

       and hotel information prior to his departure.

   3. While traveling internationally, Mr. Goldstein will be subject to the third-party custody of

       his wife throughout the entirety of his trip.

   4. While traveling internationally, Mr. Goldstein will submit to daily check-in calls (via

       FaceTime) with Pretrial Services in the presence of his third-party custodian. A time for

       the daily calls will be arranged between Mr. Goldstein, his wife, and Pretrial Services.
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  5. Mr. Goldstein will surrender his U.S. passport to the Court upon his return, no later than

     May 30, 2025, at 2:00 pm.

  6. The third-party custodian obligation will be complete once Mr. Goldstein has returned to

     the United States and surrendered his U.S. passport.




           10 2025
Dated: May ___,




                                                 United States District Court for the District of
                                                                     Maryland
